                    Case 1:12-cr-00323-WSD-CMS Document 3 Filed 09/25/12 Page 1 of 1
U.S. Department of Justice

United States Attorney
Northern District ofGeorgia

                                                                                                   riLED IPi OllAMDmO
                                                                               September 25. 2012
                                                                               Date Submitted          SEP   Z S/tUIZ
ORIGINAL                                                                   mmmimi
                                   In the United States District Court^-S- N.D. GEORGIA
                                               For The Northern District of Georgia

United States of America                                                            Indictment/Information

              V.


EDWARD K. K I M                                                                CR

                                                                               September 25. 2012
                                                                               Date of Indictment



                                            REQUEST FOR ARRAIGNMENT

DEFENDANT IN CUSTODY


 Edward K . K i m
(Name)

 Forsyth County Detention                                                        9/24/12
(Institution)                                                                   (Date Verified)

ATTORNEY FOR DEFENDANT


(Name)


(Address)


0 SUPERSEDING INDICTMENT
( ) C O M P A N I O N C A S E with Indictment No. C R .


               Other defendants previously arraigned (or now set for arr.)


 C A T E G O R Y OF C A S E            ( ) Short        ( ) Medium      ( ) Long

 Assistant U.S. Attomey handling case Joseph Plummer
 (for additional defendants-use supplemental sheet)

 Special Date Requested:
                                                                                                               Form N o . USA-40-19-35a
                                                                                                                                   (08/18/83)
                                                                                                                       N . D . G a , 08/26/94
